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IN THE UNI'I`ED STATES DISTRIC'I` COUR'I'

FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUL 22 PH 1:53
wEsTERN DIvIsION

 

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W/€.) @;~- »_. _ .§QUHT

UNITED STATES OF AMERICA

Plaintiff,

05 ROSO? /
Criminal No.O

2__¢§___30$€ Ml

(30-Day Continuance)

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Defendant(s).

 

CONSEN'I' ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the August, 2005,
criminal rotation calendar, but is now RESET for report at §igg
a.m. on FridaV, Auqust 26, 2005, with trial to take place on the
September, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through September 16, 2005. Agreed in open court

at report date this 22nd day of July, 2005.

Th|s document entered cn the docket sheet ln compliance
with Ru|e 55 and/or 32(b) FF{CrP on

 

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SO ORDERED this 22nd day of July, 2005.

@mc Q.M

JON PHIPPS MCCALLA
'I`ED STATES DISTRICT JUDGE

 

Assistant United State§kktterney

saw

 

 

 

Counsel for Defendant(s)

 
 

UNITED sTATE DRISTIC COURT - WESTERN D'S'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-20507 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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200 .1 efferson Ave.

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Honorable .1 on McCalla
US DISTRICT COURT

